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' Case 4:15-cr-00265 Document 239 Filed on 06/14/23 in TXSD Page 1 of 7

TRULINCS 87160379 - LOUDD, ZACHARY - Unit: CAA-D-B

FROM: 87160379
TO: Five Duece, Hgc
SUBJECT: Comp’ Rel’ Reply
DATE: 05/30/2023 06:03:09 PM United
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Southern District of Tovas
UNITED STATES DISTRICT COURT ILED
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION JUN 14 2093

, Nathan Ochs
UNITED STATES OF AMERICA, ner, Clerk of Court

Vv. CR. NO. H-15-265

HONORABLE MELINDA HARMON
ZACHARY LOUDD

LOUDD'S NOTICE OF ADDITIONAL [SSUES AND REPLY TO GOVERNMENT'S
RESPONSE FOR SENTENCING REDUCTION MOTION 18 U.S.C. 3582(C)(1)(A).

5/29/23

RESPECTFULLY SUBMITTED,

WAYMART PA 18472
' Case 4:15-cr-00265 Document 239 Filed on 06/14/23 in TXSD Page 2 of 7

TRULINCS 87160379 - LOUDD, ZACHARY - Unit: CAA-D-B

FROM: 87160379

TO:

SUBJECT: p.2

DATE: 05/30/2023 05:58:19 PM

I. NOTICE OF ADDITIONAL ISSUSES

Mr. Loudd presents the following additional issues that are extraordinary and compelting reasons for relief and or
a sentencing reduction:

The combination of harsh prison condition due to the COVID-19 pandemic lock downs and restriction; the 168 months
imposed sentence for bank robbery is grossly disproportionate with 106 months national average for Robbery; Mr. Loudd
has been incarcerated more than 500 miles away from his home in Houston Texas which this has caused his family and
friends a hardship to come and see him. He only had two visits the entire 8 years since being locked up; Mr. Loudd
has a home and work plan upon release; Post conviction rehabilitation; And currently enrolled in programs that will
help to promote cognitive skills . Stop the violence classes and VICTIM Impact to name a few.

Mr, Loudd askes for 60 days to file a supporting memorandum of law. But the facts and allegation is made by way
of declaration under penalty of perjury.

p.2
FROM: 87160379

TO:
SUBJECT: p.3
DATE: 05/30/2023 05:59:34 PM

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISON

UNITED STATES OF AMERICA,
V.
ZACHARY LOUDD,

DECLARANT
i

STATE OF PENNSYLVANNIA}
COUNTY OF WAYMART}

I! ZACHARY LOUDD'S SUPPORTING DECLERATION UNDER PENALTY OF PERJURY 28 U.S.C. 1746

| Zachary Loudd state under penalty of perjury pursuant to 28 U.S.C. 1746, that the following paragraphs are true
and correct to the best of my knowledge and belief:

A. HARSH PRISON CONDITION DUE TO THE COVID-19 PANDEMIC

1. By the time the COVID pandemic started in march of 2020 | was all ready locked down in the SMU unit at Thompson
tll. See Bop records.

2. The program is normally a nine months program. but because of the pandemic, most of all BOP transfers to

a regular jail had stopped. This caused me to spend an additional 8 months after | had completed the program.
So all together | spent about 17 months in the SMU program.

3. While at Thompson all inmates by policy are supposed to get 1 hour of fresh air and recreation every 24 hours.
Because of the restriction this had come to an erupt halt. That is for nearly 60 days into the pandemic after
March of 2020, { remained cramped in side the cell all day without no recreation or outside air. The records

at USP Thompson will confirm this.

4. In addition immediately following the lock downs ! was restricted from making Phone calls, emails, and

the United States postal service was taking as long as 3- 4 weeks to deliver mail. So { was prohibited from
immediately contacting my family, friends and love ones. | could not check up on their health nor could

! up date them on mine. This left me and my family depressed and lots of anxiety. Because of my underlying
. Case 4:15-cr-00265 Document 239 Filed on 06/14/23 in TXSD Page 4 of 7

TRULINCS 87160379 - LOUDD, ZACHARY - Unit: CAA-D-B

during that time period.
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B. Home plan upon release

5. Upon release | will be living with my mother in Houston Texas. You may contact her to verify this at 832-492-1641
(please seal this number).

C. MR. Loudd’s TIME SPENT IN PRISON WAS MORE ONEROUS THAN THE AVERAGE INMATE
DUE TO HIM BEING HOUSED MORE THAN 500 MILES AWAY FROM HOME.

6. Mr. Loudd was housed at USP Victorville which is 1578 miles away from home; USP Coleman which is 925 miles
away from home; Thompson 1057 miles away from home; McCreary which is 969 miles away from home; and
USP Canaan which is 1653 miles away from home. Since the 8 years that | have been locked up | only had
two visits. Like my mother always says its too too far to travel. And it cost a lot of money.

D. Post conviction Conduct

7. Since 2015 the eight years that | have been locked down, | have truly learned my lesson in comitting crime. | cannot

be there for my love ones. Since day one on this case | was quick to take full responsibility for my actions. | have
completed My GED and a number of other course that's helpful once ! am released. | am currently enrolled

in a number of FSA classes and ACE classes.

8. | have signed up for stop the Violence and VICTIM impact. Also | have signed up for cognitive programs to help
me with my thinking and to rehabilitate myself for any perceived violence in my disciplinary record. If given the
opportunity for early release or a sentence reduction, | will repay this court's mercy by being a law abiding productive
citizen. | WILL STAY OUT OF TROUBLE.

WHEREFORE, based on the foregoing the facts herein are true and correct to the best of my knowledge and belief.

Executed on 5/29/23

Waymart PA 18472

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eos, Case 4:15-cr-00265 Document 239 Filed on 06/14/23 in TXSD Page 5 of 7

TRULINCS 87160379 - LOUDD, ZACHARY - Unit: CAA-D-B

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FROM: 87160379

TO:

SUBJECT: p.4

DATE: 05/30/2023 06:01:08 PM

Ill REPLY TO THE GOVERNMENT'S RESPONSE

The Government stated in its response "GR" : "as part of that plea agreement, the defendant knowingly waived his
right to appeal the conviction and sentence pursuant to title 18 United States Code, 3742. . .. The defendant also
waived the right to contest or "collaterally attack" the conviction and sentence by means of any post- conviction
proceeding. GR at Pp. 2,18 Dkt# 227 (2/15/23).

Loudd's reply

Loudd object to the government asserting this waiver because it is not specific as to the compassionate release
motion under 3582(c)(1)(A). Moreover the plea agreement was made in 2015 so the compassionate relief motion
could never have been in contention for waiver since it was enacted in 2018. Surely the government does not want
the court to apply this waiver that never specifically mentioned 3582.

Also the government wants this court to find that he waived this proceeding stating: "the defendant also waived
the right to contest or “collaterally attack " the conviction and sentence by means of any post-conviction proceeding"
GR at p. 2.

This conflicts with the plain language of the plea agreement and Mr. Loudd's understanding at that time about
what he was specifically waiving. The plea agreement stated: "Defendant is also aware that title 28 United State
Code, section 2255, affords the right to contest or "collaterally attack" a conviction or sentence after the judgment
of conviction and sentence has become final" p3 of Plea agreement Dkt#70 (11/06/15). Thus the plea agreement
was only specific to 2255 post conviction proceedings. CF. United States v. Eidson, 2019 U.S. Dist. Lexis 134778
(W.D. Cal. Aug. 9, 2019) (Plea agreement clearly states: " agree not to file any collateral attack on my sentence
including a petition under 2255,2241,3582" ) Unlike the instant case the plea agreement was not specific and
this court should not hold Mr. Loudd to this waiver.

The government does not contest that Loudds rehabilitation in combination with other factors warrants a sentence
reduction. Only stating that Mr. Loudd's institutional record while here at USP Canaan does not support his release.
Since then Mr. Loudd have stayed out of trouble. He has enrolled in all sorts of cognitive behavior classes, Stop the

violence classes and Victim impact just to name a few. He expects this to help him with coping with anger and
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TRULINCS 87160379 - LOUDD, ZACHARY - Unit: CAA-D-B

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Mr. Loudd also asks the court to take in to consideration the level of security prison that he's at here in USP Canaan.
Based on the above Mr. Loudd prays that you grant the appropriate relief.

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IV. Certificate of Service

| hereby certify that on May 29, 2023 | filed the foregoing document with the clerk of the court for the SDTX, and
mailed a copy to the AUSAO: Richard D. Hanes, 1000 Louisiana ste 2300, Houston TX 77002 by placing the correct

united States postage stamps on an envelope and placing the mail in USP Canaan's Mailbox .

Executed on May, 29, 2023.

Waymart PA 18472

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